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                                                                                                        Crim-Sent (9/3/09)
                                               HONORABLE: Stefan R. Underhill
                        DEPUTY CLERK Barbara Sbalbi       RPTR/ECRO/TAPE Susan Catucci
TOTAL TIME:              hours 30 minutes USPO Raymond Lopez     INTERPRETER
                           DATE:  3/1610     START TIME: 2:10 pm        END TIME: 2:40 pm
                                        RECESS (if more than ½ hr)         FROM:                  TO:

CRIMINAL NO. 3:09cr130 (SRU)                   Deft # 4
                                                                       Robert Spector
         UNITED STATES OF AMERICA                                      AUSA
                   vs
                     John Crisanti
                                                                       Frank Cannatelli
                                                                      Defendant’s Counsel
                                                   SENTENCING

 ...........       Sentencing held      Sentencing continued until                  at
 ...........    Deft failed to appear, Bench Warrant to issue
 ...........    Court departs     Upward from the guidelines          Downward from the guidelines
 ...........    60     month(s) imprisonment on Count(s)        one  of the superseding indictment information
               &      months(s) imprisonment on Count(s)             of the superseding indictment information
 ...........    Sentence on Count(s)              shall run     concurrently consecutively to sentence
                imposed on Count(s)                  to state sentence
 ...........    Deft shall get credit for time served on Count(s)
 ...........    Upon release the defendant shall be on supervised release for a term of 72                months
 ...........    Deft placed on probation for a period of               years on Count(s)           of the
 ...........    Government’s motion for Final Order of Forfeiture           Filed      Granted      Denied
 ...........    Preliminary Order of Forfeiture is outstanding
 ...........    Final Order of Forfeiture filed
 ...........    Deft shall pay a fine of $              on Count(s)                    to be paid by
                   in installments of $                 per                for a total of $___________
 ...........    A Special Assessment of         $50     $100 is imposed as to each of Count(s)                  for a
                total of $                       to be paid immediately
 ...........    Court recommends incarceration at
 ...........    Deft shall pay $               per month for the cost of incarceration supervised release
                   community confinement (halfway house)
 ...........    Deft ordered to surrender on                      to U.S. Marshal          institution
 ...........    Bond continued          set at $
 ...........    Deft remanded to the custody of the U.S. Marshal
 ...........    Govt’s motion to dismiss remaining counts           Filed    Granted       Denied
 ...........    Govt’s oral motion to dismiss remaining counts          Granted       Denied
 ...........    PSI filed under seal     If not appealed, PSI may be unsealed & returned to USPO
 ...........    Deft shall participate in the 500 hour drug rehabilitation treatment program
 ...........



                    SEE CONDITIONS OF SUPERVISED RELEASE/PROBATION ON PAGE II
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CONDITIONS OF             SUPERVISED RELEASE               PROBATION

 ..........                               1,2,4,5,6,8
                Mandatory conditions:___________________             Standard Conditions
 ..........     Deft shall pay restitution in the amount of $                   payable at the rate of $
                per month       payable to                                                                             .
 ..........     Deft shall be fined $ 6,000.00        on Count(s) one            to be paid during the defendant’s
                period of     Supervised Release Probation           on schedule determined by USPO.
 ..........     Deft shall obtain a psychiatric and/or psychological evaluation and/or in-patient         out- patient
                counseling as deemed necessary by USPO.
..........      Deft shall obtain substance abuse treatment & testing in-patient          out-patient counseling as
                deemed necessary by USPO.
 ..........     Deft shall pay some or all of the costs of substance abuse and/or mental health treatment if
                determined appropriate by USPO.
 ..........     Deft shall submit to random urine testing & monitoring as deemed necessary by USPO.
 ..........     Deft shall receive educational and/or vocational training as deemed necessary by USPO.
 ..........     Deft shall pay the cost of supervision of $                 per month.
 ..........     Deft shall perform community service for a period of               hours per week for
                            year(s) for a total of        hours.
 ..........     Defendant shall obtain & maintain full employment.
 ..........     Deft shall have no association with or be in the presence of, use, fabrication, assembly, transfer or
                dealing with weapons/firearms of any kind.
 ...........    Deft is confined to his/her home for a period of          months with        without electronic
                monitoring.
  ...........   Deft shall pay the cost of electronic monitoring.
 ...........    Deft is sentenced to community confinement (halfway house) for a period of                months.
 ...........    During the period of house arrest, the defendant shall be home at all times except for employment,
                religious obligations, medical attention, and community service. Defendant shall engage in no
                social activities with the exception of those exclusively family oriented.
 ............   Deft shall have no involvement nor relationship with nor be in the presence of any person who
                uses, deals with, or distributes drugs, nor shall he/she be in the presence of any actual usage of,
                dealing in or distribution of drugs of any nature.
 ............   If Deft is deported, (s)he will not reenter the United States without obtaining advance written
                permission from the United States Attorney General and without giving advance written notice to
                the United States Attorney’s office in Connecticut and the United States Probation office in
                Connecticut.
 ............
